                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION



  UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR07-3024-MWB
  vs.                                                ORDER CONCERNING
                                                  MAGISTRATE’S REPORT AND
  TRACI VOTE,
                                                 RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA
                                   ____________________

                        I. INTRODUCTION AND BACKGROUND
        On May 22, 2007, an indictment was returned against defendant Traci Vote charging
defendant with conspiracy to distribute 50 grams or more of methamphetamine, in violation
of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 846.        On September 5, 2007, defendant
appeared before Chief United States Magistrate Judge Paul A. Zoss and entered a plea of
guilty to Count 1 of the indictment. On this same date, Judge Zoss filed a Report and
Recommendation in which he recommends that defendant’s guilty plea be accepted. No
objections to Judge Zoss’s Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Zoss’s recommendation to accept defendant’s plea
in this case.


                                       II. ANALYSIS
        Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the



     Case 3:07-cr-03024-MWB-KEM           Document 51     Filed 09/20/07    Page 1 of 2
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition to
             which specific written objection has been made in accordance
             with this rule. The district judge may accept, reject, or modify
             the recommended decision, receive further evidence, or
             recommit the matter to the magistrate judge with instructions.
FED. R. CIV. P. 72(b). In this case, no objections have been filed, and it appears to the
court upon review of Judge Zoss’s findings and conclusions, that there is no ground to
reject or modify them.      Therefore, the court accepts Judge Zoss’s Report and
Recommendation of September 5, 2007, and accepts defendant’s plea of guilty in this case
to Count 1 of the indictment.
      IT IS SO ORDERED.
      DATED this 20th day of September, 2007.


                                          __________________________________
                                          MARK W. BENNETT
                                          U. S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA




                                            2


    Case 3:07-cr-03024-MWB-KEM          Document 51      Filed 09/20/07     Page 2 of 2
